 Case 2:07-cr-00014-JCM-PAL             Document 31       Filed 05/16/07      Page 1 of 14



 1
 2
 3                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
 4                                              ***
 5
     UNITED STATES OF AMERICA,                     )
 6                                                 )
                     Plaintiff,                    )         2:07-cr-00014 JCM-(RJJ)
 7                                                 )
                                                   )       REPORT & RECOMMENDATION
 8   vs.                                           )              OF UNITED STATES
                                                   )              MAGISTRATE JUDGE
 9                                                 )       (Defendant’s Motion to Dismiss Indictment
                                                   )       for Unreasonable Delay or Bond Pursuant
10                                                 )       to 18 U.S.C. 3145(c) (#17))
     RENE OSWALD COBAR,                            )
11                                                 )
                                                   )
12                   Defendant.                    )
13
            This matter came before the undersigned Magistrate Judge for a hearing on Defendant Rene
14
     Cobar’s Motion to Dismiss (#17).         The Court has considered the Motion (#17), and the
15
     Government’s Response (#20), in addition to the testimony and arguments presented at the hearing.
16
17
                                              BACKGROUND
18
            The government asserts that in September 2003 the DEA began an investigation of Cobar.
19
     Using an undercover agent, a series of negotiations occurred regarding the importation of 400
20
     kilograms of cocaine into Las Vegas, Nevada. Eventually, Cobar was arrested in New York while
21
     attempting to launder money through another undercover agent.
22
     TIME LINE OF EVENTS:
23
                                    Initial District of Nevada Indictment
24
     April 7, 2004           Complaint filed charging Cobar with a violation of 18 U.S.C. §
25                           1956(a)(3)(B): Attempt to Commit Money Laundering
                             (2:04-cr-00174-JCM-RJJ (#9, at 27))
26
     May 5, 2004             Criminal Indictment Returned; Charging Two Counts
27                           21 U.S.C. § 841(a)(1), (b)(1)(A)(ii): 18 U.S.C. § 1956(a)(1)(B)(i) & (h)
                             Conspiracy to Distribute a Controlled Substance, cocaine, and
28                           Conspiracy to Commit Money Laundering
                             (2:04-cr-00174-JCM-RJJ (#1))
 Case 2:07-cr-00014-JCM-PAL           Document 31        Filed 05/16/07    Page 2 of 14



 1   May 21, 2004         Defendant has Initial Appearance/Detained in the District of Nevada
                          Case designated as a complex case
 2                        Trial date set for July 13, 2004
                          (2:04-cr-00174-JCM-RJJ (#15 & #18))
 3                        [Defendant was arrested in the Southern District of New York and ordered
                          transported to the District of Nevada]
 4
     June 3, 2004         Parties Stipulate to continue trial
 5                        (2:04-cr-00174-JCM-RJJ (#20))
 6                        The Stipulation stated that “Counsel for defendants have spoken to the
                          defendants, and the defendants have no objection to the requested
 7                        continuance. The defendants are in custody. Denial of this request for
                          continuance would deny the parties herein sufficient time and the
 8                        opportunity within which to be able to effectively and thoroughly research
                          and prepare for trial in this case, taking into account the exercise of due
 9                        diligence. Additionally, denial of this request for continuance would result
                          in a miscarriage of justice. . . . The additional time requested by this
10                        stipulation, is excludable in computing the time within which the trial
                          herein must commence pursuant to the Speedy Trial Act, 18 U.S.C. §
11                        3161(h)(1)(F) and § 3161(h)(8)(A), considering the factors under 18
                          U.S.C. § 3161(h)(8)(B)(i) and (iv).”
12
     June 7, 2004         Order granting Stipulation to continue trial
13                        New Trial date set for September 28, 2004
                          (2:04-cr-00174-JCM-RJJ (Order #20))
14
     September 22, 2004 Parties Stipulate to continue trial
15                      (2:04-cr-00174-JCM-RJJ (#26))
16                        The Stipulation stated that “Defense counsel needs additional time to
                          effectively and thoroughly investigate the case. The defendant is
17                        incarcerated and does not object to the continuance. The additional time
                          requested herein is not sought for purposes of delay, but merely to allow
18                        counsel for defendant sufficient time within which to be able to effectively
                          and thoroughly research, prepare and submit for filing appropriate pretrial
19                        motions. Additionally, denial of this request for continuance could result
                          in a miscarriage of justice. The additional time requested by this
20                        Stipulation is excludable in computing the time within which the trial
                          herein must commence pursuant to the Speedy Trial Act, Title 18 U.S.C. §
21                        3161(h)(1)(F) and Title 18 U.S.C. § 3161(h)(8)(A), considering the factors
                          under 18 U.S.C. §§ 3161(h)(8)(B)(i) and 3161(h)(8)(B)(iv).
22
     September 30, 2004 Order granting Stipulation to continue trial
23                      Pretrial motions to be filed by October 12, 2004
                        New Trial date set for November 30, 2004
24                      (2:04-cr-00174-JCM-RJJ (Order #26))
25   October 12, 2004     Cobar filed a Motion to Join co-defendant’s Motion to Dismiss Count
                          Two of the Indictment for Lack of Venue (#27)
26                        (2:04-cr-00174-JCM-RJJ (Motion for Joinder #28))
27   October 22, 2004     Parties Stipulate to continue trial
                          (2:04-cr-00174-JCM-RJJ (#30))
28

                                                   -2-
 Case 2:07-cr-00014-JCM-PAL         Document 31        Filed 05/16/07    Page 3 of 14



 1                      The stipulation stated that “This trial is set for the Monday after
                        Thanksgiving. Counsels will be spending the holiday with their respective
 2                      families. [sic] Therefore, the parties request that the trial be continued
                        until the second week of January. Counsel for the defendants have spoken
 3                      to the defendants, and the defendants have no objection to the requested
                        continuance. The defendants are in custody. Denial of this request for
 4                      continuance would deny the parties herein sufficient time and the
                        opportunity within which to be able to effectively and thoroughly research
 5                      and prepare for trial in this case, taking into account the exercise of due
                        diligence. Additionally, denial of this request for continuance would result
 6                      in a miscarriage of justice. . . . The additional time requested by this
                        stipulation is excludable in computing the time within which the trial
 7                      herein must commence pursuant to the Speedy Trial Act, 18 U.S.C. §
                        3161(h)(8)(A), considering the factors under 18 U.S.C. § 3161(h)(8)(B)(i)
 8                      and (iv).”
 9   October 24, 2004   Order granting Stipulation to continue trial
                        New Trial date set for February 7, 2005
10                      (2:04-cr-00174-JCM-RJJ (Order #30))
11   January 24, 2005   Government files a Motion to Dismiss Count Two of Indictment based on
                        lack of venue in the District of Nevada
12                      (2:04-cr-00174-JCM-RJJ (#39))
13   February 1, 2005   Parties Stipulate to continue trial
                        (2:04-cr-00174-JCM-RJJ (#40))
14
                        The Stipulation states that “The Government has dismissed Count Two of
15                      the Indictment and the parties are involved in plea negotiations which
                        might obviate the need for trial in this case. Counsel for the defendant has
16                      spoken to the defendant, and the defendant has no objection to the
                        requested continuance. The defendant is in custody. Denial of this request
17                      for continuance would deny the parties herein sufficient time and the
                        opportunity within which to continue with plea negotiations or to be able
18                      to effectively and thoroughly research and prepare for trial in this case,
                        taking into account the exercise of due diligence. Additionally, denial of
19                      this request for continuance would result in the miscarriage of justice. . .
                        .The additional time requested by this stipulation is excludable in
20                      computing the time within which the trial herein must commence pursuant
                        to the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(A), considering the
21                      factors under 18 U.S.C. § 3161(h)(8)(B)(i) and (iv).”
22   February 4, 2005   Order granting Stipulation to continue trial
                        New Trial date set for April 25, 2005
23
                        [No Plea Agreement was filed or reached]
24
     February 8, 2005   Court grants Government’s Motion to Dismiss Count Two of Indictment
25                      (2:04-cr-00174-JCM-RJJ (Order #41))
26   April 8, 2005      Parties Stipulate to continue trial
                        (2:04-cr-00174-JCM-RJJ (#43))
27
                        The Stipulation stated “That the parties are currently engaged in plea
28                      negotiations which might obviate the need for trial in this case. Counsel

                                                 -3-
 Case 2:07-cr-00014-JCM-PAL       Document 31        Filed 05/16/07      Page 4 of 14



 1                    for Rene Oswald Cobar has consulted the defendant, and he agrees that
                      this continuance is necessary. Defendant is currently in custody. Denial
 2                    of this request for continuance of the parties deadline for the filing of pre-
                      trial motions and responsive pleadings would deny the parties herein
 3                    sufficient time within which to be able to effectively and thoroughly
                      research, prepare and submit for filing appropriate pre-trial motions and
 4                    notices of defense, taking into account the exercise of due diligence.
                      Additionally, denial of this request for a continuance could result in a
 5                    miscarriage of justice. The additional time requested by this stipulation is
                      excludable in computing the time within which the trial herein must
 6                    commence pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(h)(8)(A),
                      considering the factors under 18 U.S.C. § 3161(h)(8)(B)(i) and (iv).”
 7
     April 11, 2005   Order granting Stipulation to continue trial
 8                    New Motions date set for May 20, 2005
                      New trial date set for June 20, 2005
 9                    (2:04-cr-00174-JCM-RJJ (Order #43))
10                    [No Motions were filed]
                      [No Plea Agreement was reached or filed]
11
     June 10, 2005    Parties Stipulate to continue trial
12                    (2:04-cr-00174-JCM-RJJ (#45))
13                    The Stipulation stated “The parties are negotiating and hope to come to a
                      resolution in this case. Counsel for the defendant has spoken to the
14                    defendant, and the defendant has no objection to the requested
                      continuance. The defendant is in custody. Denial of this request for
15                    continuance would deny the parties herein sufficient time and the
                      opportunity within which to be able to continue with negotiations or to
16                    effectively and thoroughly research and prepare for trial in this case, taking
                      into account the exercise of due diligence. Additionally, denial of this
17                    request for continuance would result in a miscarriage of justice. . . . The
                      additional time requested by this stipulation is excludable in computing
18                    the time within which the trial herein must commence pursuant to the
                      Speedy Trial Act, 18 U.S.C. § 3161(h)(1)(F) and § 3161(h)(8)(A),
19                    considering the factors under 18 U.S.C. § 3161(h)(8)(B)(i) and (iv).”
20   June 15, 2005    Order granting Stipulation to continue trial
                      New Trial date set for September 26, 2005
21                    (2:04-cr-00174-JCM-RJJ (Order #45))
22                    [No Plea Agreement was reached or filed]
23   August 3, 2005   Parties Stipulate to continue trial
                      (2:04-cr-00174-JCM-RJJ (#46))
24
                      The Stipulation stated “The parties are continuing with negotiations which
25                    might obviate the need for trial. International witnesses have to be brought
                      in for this trial. Counsel for the defendant has spoken to the defendant,
26                    and the defendant has no objection to the requested continuances. The
                      defendant is in custody. Denial of this request for continuance would deny
27                    the parties herein sufficient time and the opportunity within which to be
                      able to continue with negotiations or to effectively and thoroughly research
28                    and prepare for trial in this case, taking into account the exercise of due

                                               -4-
 Case 2:07-cr-00014-JCM-PAL         Document 31         Filed 05/16/07      Page 5 of 14



 1                       diligence. Additionally, denial of this request for continuance would result
                         in a miscarriage of justice. . . . The additional time requested by this
 2                       stipulation is excludable in computing the time within which the trial
                         herein must commence pursuant to the Speedy Trial Act, 18 U.S.C. §
 3                       3161(h)(8)(A), considering the factors under 18 U.S.C. § 3161(h)(8)(B)(i)
                         and (iv).”
 4
     August 4, 2005      Order granting stipulation to continue trial
 5                       New trial date set for January 23, 2006
                         (2:04-cr-00174-JCM-RJJ (Order #46))
 6
                         [No Plea Agreement was reached or filed]
 7
     December 9, 2005    Defendant files Motion to Dismiss Counsel and Appointment for New
 8                       Counsel based on a lack of interest, lack of participation, and ineffective
                         effort to carry out the proper motions requested by the defendant
 9                       (2:04-cr-00174-JCM-RJJ (#47))
10   December 20, 2005   U.S. District Court for the District of Columbia Indictment Returned,
                         Charging One Count
11                       21 U.S.C. §§ 963, 959 and 960
                         Conspiracy to Distribute Five Kilograms or More of Cocaine Intending
12                       and Knowing that the Cocaine would be Unlawfully imported into the
                         United States
13                       (District of Columbia case 1:05-cr-00451-RCL-1; see also 2:04-cr-00174-
                         JCM-RJJ, Attachment to Motion to Dismiss (#49))
14
     December 20, 2005   Bench Warrant Issued by United States Magistrate Judge Facciola
15
     December 21, 2005   Government files a Motion to Dismiss
16                       [No actual Motion to Dismiss filed but two copies of the D.C. Indictment
                         Attached]
17                       (2:04-cr-00174-JCM-RJJ (#48))
18   January 11, 2006    Government files an Amended Motion to Dismiss without prejudice in
                         order to pursue the matter in the U.S. District Court for the District of
19                       Columbia
                         (2:04-cr-00174-JCM-RJJ (#49))
20
     January 26, 2006    Order granting the government’s Motion to Dismiss
21                       (2:04-cr-00174-JCM-RJJ (Order #54))
22   February 3, 2006    Defendant mails a letter to the Court inquiring why he is still incarcerated
                         when the charges against him were dismissed and his co-defendant was
23                       released [letter dated February 1, 2006]
                         (2:04-cr-00174-JCM-RJJ (#53))
24
     May 17, 2006        Defendant mails a letter to the Court asserting his right to a speedy trial
25                       [letter dated May 5, 2006]
                         (2:04-cr-00174-JCM-RJJ (#55))
26
                                   District of Columbia Indictment
27
     May 16, 2006        Defendant has Arraignment/Initial Appearance and enters Plea of not
28                       guilty

                                                  -5-
 Case 2:07-cr-00014-JCM-PAL         Document 31        Filed 05/16/07     Page 6 of 14



 1                       (1:05-cr-00451-RCL-1 Minutes of Proceedings May 16, 2006)
                         Government files a Motion to Detain Cobar
 2                       (1:05-cr-00451-RCL-1 (#9)
                         Detention hearing set for May 22, 2006
 3                       (1:05-cr-00451-RCL-1 Minutes of Proceedings May 16, 2006)
                         [Defendant Arrested in the District of Nevada and transported to the
 4                       District of Columbia]
 5   May 22, 2006        Detention Hearing
                         (1:05-cr-00451-RCL-1 Minutes of Proceedings May 22, 2006)
 6
     May 31, 2006        Order granting Motion to Detain Defendant
 7                       (1:05-cr-00451-RCL-1 Order (#14))
 8   July 31, 2006       Cobar moves to dismiss indictment for lack of venue
                         (1:05-cr-00451-RCL-1 Motion to Dismiss for Lack of Venue (#21))
 9
     November 9, 2006    Motion to Dismiss granted, but stayed for 20 days in order to give the
10                       United States the opportunity to seek a further stay from the Court of
                         Appeals for the District of Columbia
11                       (1:05-cr-00451-RCL-1 Order (#32))
12   November 14, 2006   Government filed a Notice of Appeal in the United States Court of
                         Appeals for the District of Columbia
13                       (1:05-cr-00451-RCL-1 (#33))
14   November 17, 2006   Government filed a Motion for Extension of Time to Seek Stay from
                         Court of Appeals
15                       (1:05-cr-00451-RCL-1 (#34))
16   November 21, 2006   Order granting the government’s Motion for Extension of Time (#34),
                         ordering that the Court’s stay shall be extended two weeks, up to and
17                       including December 13, 2006
                         (1:05-cr-00451-RCL-1 (#36))
18
     December 13, 2006   Department of Justice filed a new criminal complaint against Cobar and
19                       Gonzales in the District of Nevada charging the defendants with
                         Conspiracy to distribute cocaine in violation of 21 U.S.C. § 846. The
20                       government abandoned the appeal and pursued the charges against the
                         defendants in the District of Nevada.
21
                                  2nd District of Nevada Indictment
22
     January 24, 2007    Four Count indictment returned against Cobar.
23                       Count 1: 21 U.S.C. §§ 952, 960, 963
                         Conspiracy to Import Five Kilograms or More of Cocaine
24                       Count 2: 21 U.S.C. §§ 952, 960, 963
                         Conspiracy to Import Five Kilograms or More of Heroine
25                       Count 3: 21 U.S.C. §§ 846, 841(a)(1)
                         Conspiracy to Distribute or Possess with Intent to Distribute Five
26                       Kilograms or More of Cocaine
                         Count 4: 21 U.S.C.§§ 846, 841(a)(1)
27                       Conspiracy to Distribute or Possess with Intent to Distribute One
                         Kilogram or More of Heroin
28                       (Indictment (#1))

                                                 -6-
 Case 2:07-cr-00014-JCM-PAL             Document 31        Filed 05/16/07      Page 7 of 14



 1   January 24, 2007       Bench Warrant Issued by United States Magistrate Judge Leen

 2   March 12, 2007         Defendant arrested while in custody in D.C. awaiting results of appeal on
                            Case 1:05-cr-00451-RCL-1, and transferred to the District of Nevada
 3                          (Warrant Returned Executed (#10))
 4   March 12, 2007         Defendant has Initial Appearance/Arraignment/Detained in the District of
                            Nevada
 5                          The case was designated as complex
                            Trial Date set for May 21, 2007
 6                          (Minutes of Proceedings Initial App./Arraignment & Plea (#7))
 7
                                                   DISCUSSION
 8
     I. Speedy Trial
 9
                                              Speedy Trial Act
10
            The Speedy Trial Act provides that a defendant must be tried within 70 days from the
11
     filing date of the indictment, “or from the date the defendant has appeared before a judicial
12
     officer of the court in which such charge is pending, whichever date last occurs.” 18 U.S.C. §
13
     3161(c)(1). Here, the defendant appeared before a judicial officer of the United States District
14
     Court, District of Nevada, on March 12, 2007. The defendant’s trial is scheduled to commence
15
     on May 21, 2007, within the 70 days mandated by the Speedy Trial Act.
16
            Certain rules are well established regarding the computation of excludable time
17          where there is a new case and a new indictment. When some or all of the counts of
            an indictment are dismissed upon government motion and the government thereafter
18          files a new indictment for the same conduct, the seventy day clock is deemed to run
            from the date it commenced with respect to the original indictment until the date of
19          dismissal, subject to any statutory exclusions.
20   U.S. v. Hoslett, 998 F.2d 648, 658 (9th Cir. 1993), citing U.S. v. Arkus, 675 F.2d 245, 247 (9th
21   Cir. 1982), overruled on other grounds, U.S. v. Rojas-Contreras, 474 U.S. 231 (1985). However,
22   “if a trial judge grants a defendant’s motion to dismiss, and the government reindicts the
23   defendant on the same offense, the Act’s seventy-day clock begins anew.” U.S. v. Karsseboom,
24   881 F.2d 604, 606 (9th Cir. 1989), citing U.S. v. Feldman, 788 F.2d 544, 548 (9th Cir. 1986).
25          Here, the District of Columbia dismissal was initiated by the defendant, while the original
26   indictment filed in the District of Nevada was dismissed based upon the government’s motion.
27   The only charge that is identical to any of the charges in the initial indictment is the Conspiracy
28   to Distribute a Controlled Substance containing cocaine. Since the government, not the

                                                     -7-
 Case 2:07-cr-00014-JCM-PAL             Document 31        Filed 05/16/07      Page 8 of 14



 1   defendant moved to dismiss this charge, the Speedy Trial analysis must begin from the date of

 2   the initial indictment. However, the time period is tolled from the dismissal of the previous

 3   charge until the reindictment. See 18 U.S.C. § 3161(h)(6).
 4          The defendant first appeared before a judicial officer on the charge alleging a Conspiracy
 5   to Distribute a Controlled Substance containing cocaine on May 21, 2004. At this time the
 6   Speedy Trial Act clock began to run as to that charge. Both parties stipulated to continue the
 7   trial, in order to effectively and thoroughly investigate the case, research, adequately prepare and
 8   submit for filing appropriate pretrial motions, and to adequately prepare for trial, until February
 9   7, 2005. This time is excludable for Speedy Trial purposes. 18 U.S.C. § 3161(h)(8)(A); see also
10   18 U.S.C. § 3161(h)(8)(B). The remaining continuances were issued for the purpose of plea
11   negotiations, to effectively and thoroughly research, prepare and submit for filing appropriate
12   pre-trial motions and notices of defense, and to effectively and thoroughly research and prepare
13   for trial. On May 9, 2007, the defendant testified at the hearing on the motion to dismiss that he
14   told his attorney that he did not want a deal and wanted to go to trial. Nonetheless, the
15   stipulation to continue states that the time is excludable in computing the time within which the
16   trial must commence pursuant to the Speedy Trial Act considering factors under 18 U.S.C. §
17   3161(h)(8)(B)(i) and (iv). 18 U.S.C. § 3161(h)(8)(B)(i) and (iv) state two factors that a judge
18   shall consider in determining whether to grant a continuance which would be excludable under
19   the act. First, “[w]hether the failure to grant such a continuance in the proceeding would be
20   likely to make a continuation of such proceeding impossible, or result in a miscarriage of
21   justice.” 18 U.S.C. § 3161(8)(B)(i). Second, “[w]hether the failure to grant such a continuance
22   in a case which, taken as a whole is not so unusual or so complex as to fall within clause (ii),
23   would deny the defendant reasonable time to obtain counsel, would unreasonably deny the
24   defendant or the Government continuity of counsel, or would deny counsel for the defendant or
25   the attorney for the Government the reasonable time necessary for effective preparation, taking
26   into account the exercise of due diligence.” 18 U.S.C. § 3161(8)(B)(iv). The Ninth Circuit has
27   specifically held that when computing time under the Speedy Trial Act, “negotiation of a plea
28   bargain is not one of the factors supporting exclusion.” U.S. v. Ramirez-Cortez, 213 F.3d 1149,

                                                     -8-
 Case 2:07-cr-00014-JCM-PAL             Document 31        Filed 05/16/07     Page 9 of 14



 1   1156 (9th Cir. 2000). Further, the defendant’s counsel did not file any pre-trial motions other

 2   than joining in the co-defendant’s motion to dismiss. Also, the government represented to this

 3   Court at the hearing on the Motion to Dismiss that the purposes of the continuances were to
 4   negotiate a plea agreement. Therefore, the time from February 7, 2005 until the initial indictment
 5   was dismissed on February 21, 2006, is not excludable in computing the time for purposes of the
 6   Speedy Trial Act.
 7          Since the speedy trial clock was running from February 7, 2005 until January 26, 2006,
 8   and began to run again on March 12, 2007, the 70 day time period in the Speedy Trial Act has
 9   been violated as to the charge in Count Three of the current indictment alleging Conspiracy to
10   Distribute a Controlled Substance, cocaine. In this case 418 non-excludable days have elapsed
11   since the date of the initial indictment charging the defendant with Conspiracy to Distribute a
12   Controlled Substance, cocaine. Therefore, Count Three of the indictment should be dismissed
13   with prejudice.
14          The Speedy Trial Act states that “[i]n determining whether to dismiss the case with or
15   without prejudice, the court shall consider, among others, each of the following factors: the
16   seriousness of the offense; the facts and circumstances of the case which led to the dismissal; and
17   the impact of a reprosecution on the administration of this chapter and on the administration of
18   justice.” 18 U.S.C. § 3162(a)(2). Although the offense charged is serious, due to the fact that the
19   defendant has been incarcerated for three years without a trial and the fact that a re-prosecution
20   would circumvent the purposes of the Speedy Trial Act dismissal should be with prejudice.
21   However, the other three counts are all new charges against the defendant. “[A]fter an
22   indictment is dismissed either with or without prejudice, a defendant may be prosecuted for
23   offenses that are separate and distinct from the offenses charged in the dismissed indictment,
24   even if those offenses all arose out of the same underlying facts.” U.S. v. Brown, 183 F.3d 1306,
25   1310 (11th Cir. 1999), citing U.S. v. Derose, 74 F.3d 1177, 1182-84 (11th Cir. 1996); U.S. v.
26   Stricklin, 591 F.2d 1112, 1120 (5th Cir. 1979). Therefore, the Speedy Trial Act clock began to
27   run for the remaining three counts on March 12, 2007. Since the trial is scheduled to commence
28   on May 21, 2007 there has not been a violation of the Act as to the remaining charges.

                                                     -9-
 Case 2:07-cr-00014-JCM-PAL             Document 31            Filed 05/16/07    Page 10 of 14



 1   Nonetheless, the time from the original indictment is relevant when determining whether there

 2   has been a Sixth Amendment violation.

 3                                 Sixth Amendment Speedy Trial Clause
 4           “The Sixth Amendment guarantees that, ‘in all criminal prosecutions, the accused shall
 5   enjoy the right to a speedy . . . trial . . . .’” Doggett v. U.S., 505 U.S. 647, 651 (1992). In
 6   MacDonald, the Supreme Court rationalized that the Speedy Trial guarantee is designed to
 7   minimize the possibility of lengthy incarceration prior to trial. U.S. v. MacDonald, 456 U.S. 1, 9
 8   (1982). Here, the defendant had a formal indictment filed against him on May 5, 2004 and has
 9   been incarcerated from May 21, 2004 until the present. Cobar has been in custody for almost
10   three years, and charges have been pending against him for over three years. Although the Ninth
11   Circuit has held that once an indictment is dismissed, since the defendant is “not subject to trial,
12   [the] Sixth Amendment right to a speedy trial [has] no application . . . [,]” this case is
13   distinguishable because the defendant has been incarcerated since the initial indictment and has
14   at all times been subject to pending charges based on the same conduct. U.S. v. Wallace, 848
15   F.2d 1464, 1469 (9th Cir. 1988).
16           The breadth of the Speedy Trial Clause has been narrowed to take into consideration (1)
17   whether delay before trial was uncommonly long, (2) whether the government or the criminal
18   defendant is more to blame for that delay, (3) whether the defendant asserted his right to a speedy
19   trial, and (4) whether he suffered prejudice as a result of the delay. Doggett v. U.S., 505 U.S.
20   647, 651 (1992), citing Barker v. Wingo, 407 U.S. 514, 530 (1972). In order “to trigger a speedy
21   trial analysis, an accused must allege that the interval between accusation and trial has crossed
22   the threshold dividing ordinary from ‘presumptively prejudicial’ delay . . . .” 505 U.S. at 652,
23   citing Barker, 407 U.S. at 530-31. If this showing has been made, the court must consider “the
24   extent to which the delay stretches beyond the bare minimum needed to trigger judicial
25   examination of the claim.” 505 U.S. at 652. Once the defendant “show[s] that the period
26   between indictment and trial passes a threshold point of ‘presumptively prejudicial[,]’” generally
27   delays approaching one year, then the Court will “proceed to the other Barker factors.” U.S. v.
28   Gregory, 322 F.3d 1157, 1161 (9th Cir. 2003).

                                                      - 10 -
 Case 2:07-cr-00014-JCM-PAL             Document 31            Filed 05/16/07    Page 11 of 14



 1           Length of the Delay

 2           In this case, the delay between the indictment and trial has been over three years, and the

 3   trial has not yet occurred. Since a period approaching one year is “presumptively prejudicial,”
 4   this Court must apply the Barker factors and do a balancing to determine if in fact Cobar’s
 5   Constitutional rights have been violated. The Ninth Circuit has found a delay of 22 months was
 6   “not excessively long” and did “not weigh heavily” in the defendant’s favor. Gregory, 322 F.3d
 7   at 1162. Further, the Ninth Circuit has stated that “the delay that can be tolerated for an ordinary
 8   street crime is considerably less than for a serious, complex conspiracy charge.” U.S. v. Lam,
 9   2001 Cal. Daily Op. Service 7299, *11 (9th Cir. 2001). This case has been designated as
10   complex, involving numerous wire taps and conduct that occurred in a foreign jurisdiction.
11   Under these circumstances although the delay is three years, it is not excessively long. Therefore
12   this factor does not weigh heavily in Cobar’s favor. However, “none of the four factors
13   identified . . . [are] either a necessary or sufficient condition to the finding of a deprivation of the
14   right of speedy trial. Rather, they are related factors and must be considered together with such
15   other circumstances as may be relevant.” Barker, 407 U.S. at 533.
16           Blame for the Delay
17           The government argues that the majority of the delay was due to continuances requested
18   by the defendant or agreed to by the defendant. However, the defendant testified that he asserted
19   his right to a speedy trial on several occasions to his court appointed attorney, as well as in two
20   letters he sent to the Court. “These assertions, however, must be viewed in light of [the
21   defendant’s] other conduct.” U.S. v. Hawk, 474 U.S. 302, 314 (1986).
22           The defendant moved to dismiss Todd Leventhal, Esq. as his counsel on December 9,
23   2005. See Doc. #47, Case 2:04-cr-00174-JCM-RJJ. However, the defendant testified that he did
24   not ask for Leventhal to file a motion to dismiss based upon his Constitutional right to a speedy
25   trial. It is also significant that the defendant did not assert his right to a speedy trial at anytime
26   during the proceedings in D.C. Although the defendant asserted that he did not raise the speedy
27   trial issue because he was pursuing the lack of venue issue, the Court is unpersuaded. The
28   defendant could have filed the motion to dismiss for a violation of his right to a speedy trial after

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 Case 2:07-cr-00014-JCM-PAL            Document 31           Filed 05/16/07   Page 12 of 14



 1   or at the same time as filing the motion to dismiss based upon lack of venue. However, the

 2   defendant did not attempt to do so, but rather argued that he should be tried in the District of

 3   Nevada. Cobar did not assert his rights, but instead waited for a period of nearly one year. The
 4   defendant only articulated his right to a speedy trial to this Court after the action was dismissed
 5   in the District of Nevada, and never asserted it in the District of Columbia. Therefore, in this
 6   case, like in Lam, “the delay . . . rest[s] squarely on the shoulders of [Cobar’s] court-appointed
 7   trial counsel, [Todd Leventhal], and not upon the government. . . . In attributing responsibility to
 8   [Cobar’s] counsel, we also find under the facts of this case that such responsibility rightfully
 9   accrues to [Cobar].” U.S. v. Lam, 2001 Cal. Daily Op. Service 7299, *13 (9th Cir. 2001). There
10   is no evidence of egregious conduct on the part of Leventhal.
11          Assertion of Right to Speedy Trial
12          Here, the defendant asserted his right to a speedy trial. The defendant testified that he
13   told his previous counsel that he wanted a speedy trial and that he did not want to negotiate a plea
14   with the government. Further, the defendant testified that he wrote two letters to the Court. See
15   Case 2:04-cr-00174-JCM-RJJ (#53 & #55). In the letter that was written on May 5, 2006 and
16   received by this Court May 17, 2006, the defendant did assert his right to a speedy trial. See
17   Case 2:04-cr-00174-JCM-RJJ (#55). Nevertheless, as previously discussed the defendant’s
18   actions were inconsistent and contributed to the delay in this case.
19          Prejudice Resulting from the Delay
20          “Actual prejudice is typically demonstrated in three ways: ‘oppressive pretrial
21   incarceration, anxiety and concern of the accused, and the possibility that the [accused’s] defense
22   will be impaired.’” U.S. v. Gregory, 322 F.3d 1157, 1163 (9th Cir. 2003), citing Doggett v. U.S.,
23   505 U.S. 647, 654 (1992) (internal quotation marks and citations omitted); U.S. v. Beamon, 992
24   F.2d 1009, 1014 (9th Cir. 1993). Cobar asserts that because of his incarceration his marriage and
25   relationship with his daughter have ended. The Supreme Court has noted that there are “societal
26   disadvantages of lengthy pretrial incarceration . . . .” Barker v. Wingo, 407 U.S. 514, 532 (9th
27   Cir. 1972). Jail time affects a defendant’s job, family life, and ability to prepare his defense. 407
28   U.S. at 532. “Imposing those consequences on anyone who has not yet been convicted is

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 Case 2:07-cr-00014-JCM-PAL            Document 31           Filed 05/16/07   Page 13 of 14



 1   serious.” 407 U.S. at 532. Cobar also contends that his ability to defend himself has been

 2   irrevocably destroyed due to the loss of key witnesses needed for the defense of entrapment.

 3   Although witnesses’ memories may fade, the defendant is safeguarded from suffering this
 4   prejudice by the statute of limitations. U.S. v. Doe, 149 F.3d 945, 948 (9th Cir. 1998). Further,
 5   “[g]eneralized assertions of the loss of memory, witnesses, or evidence are insufficient to
 6   establish actual prejudice.” U.S. v. Manning, 56 F.3d 1188, 1194 (9th Cir. 1995). The inability
 7   to locate key witnesses is a generalized prejudice that the defendant has not demonstrated with
 8   the requisite particularity.
 9           Balancing the length of the delay against the reasons for the delay in this case does not
10   warrant dismissal. Although the defendant has suffered prejudice, the fact that he did not move
11   to dismiss the case based on a violation of the right to a speedy trial until April 3, 2007 weighs in
12   favor of allowing the prosecution to go forward. Moreover, since the actions of his counsel are
13   attributable to Cobar, much of the delay in this case was to the defendant’s benefit in an effort to
14   prepare for a complex international drug case. Further, the government did not act with bad
15   faith, nor with the requisite negligence warranting dismissal. Since the government has acted
16   with good faith and due diligence in prosecuting this case in the interest of justice, the Motion to
17   Dismiss as to the three remaining counts should be denied.
18
19                                        RECOMMENDATION
20           Based on the foregoing and good cause appearing therefore,
21           IT IS THE RECOMMENDATION of the undersigned Magistrate Judge that the
22   Defendant’s Motion to Dismiss Indictment for Unreasonable Delay or Alternatively Motion for
23   Bond Pursuant to 18 U.S.C. 3145(c) (#17) be GRANTED IN PART AND DENIED IN PART.
24           IT IS FURTHER RECOMMENDED that the Defendant’s Motion to Dismiss Indictment
25   for Unreasonable Delay or Alternatively Motion for Bond Pursuant to 18 U.S.C. 3145(c) (#17)
26   be GRANTED as to Count Three, the charge alleging Conspiracy to Distribute a Controlled
27   Substance, cocaine.
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 Case 2:07-cr-00014-JCM-PAL            Document 31            Filed 05/16/07   Page 14 of 14



 1          IT IS FURTHER RECOMMENDED that the Defendant’s Motion to Dismiss Indictment

 2   for Unreasonable Delay or Alternatively Motion for Bond Pursuant to 18 U.S.C. 3145(c) (#17)

 3   be DENIED as to the three remaining Counts.
 4                                                 ORDER
 5          IT IS HEREBY ORDERED that the Motion for Bond Pursuant to 18 U.S.C. 3145(c),
 6   contained in the Motion to Dismiss (#17), is under the jurisdiction of the district judge and
 7   therefore, is referred to the Hon. James C. Mahan, for review and resolution.
 8                                                NOTICE
 9          Pursuant to Local Rule IB 3-2 any objection to this Report and Recommendation must
10   be in writing and filed with the Clerk of the Court on or before May 29, 2007. The Supreme
11   Court has held that the courts of appeal may determine that an appeal has been waived due to the
12   failure to file objections within the specified time. Thomas v. Arn, 474 U.S. 140, 142 (1985). This
13   circuit has also held that (1) failure to file objections within the specified time and (2) failure to
14   properly address and brief the objectionable issues waives the right to appeal the District Court’s
15   order and/or appeal factual issues from the order of the District Court. Martinez v. Ylst, 951 F.2d
16   1153, 1157 (9th Cir. 1991); Britt v. Simi Valley United Sch. Dist., 708 F.2d 452, 454 (9th Cir. 1983).
17          DATED this 16th day of May, 2007.
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                                                    ROBERT J. JOHNSTON
21                                                  United States Magistrate Judge
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